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  EXHIBIT “O”
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  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: continuing failures of Weiss and Zekaria to comply with Court Orders and to produce the February 2022 retainer/escrow
         agreement
   Date: May 14, 2024 at 8:56 AM
     To: Patrick Healey phealey@rebarkelly.com, Gary Weiss wgary4109@gmail.com, monipair monipair@aol.com
    Cc: Glenn Manochi gmanochi@lightmanlaw.com, Kim DiTomaso kditomaso@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com


       Gary Weiss, and Daphna Zekaria (c/o Patrick Healey, Esquire),

       Judge Younge previously entered Orders in this case which in relevant
       part directed the Weiss Defendants and the Zekaria Defendants to
       produce all documents responsive to plaintiff’s Document Requests
       served on the defendants.

       So we find it incredible and inexcusable that to date, each of you
       continue to fail and refuse to comply with the Court Orders and to
       produce the February 2022 retainer/escrow agreement that both
       Zekaria and Weiss admitted in their respective depositions was
       created by Zekaria in February of 2022. Weiss stated that he had that
       agreement, but was not willing to produce it to us until the “appropriate
       time.” Zekaria admitted that she had it in her computer, and printed it
       out, and that it is among the papers in her office.

       NOT ACCEPTABLE.

       Both Weiss and Zekaria have until this Friday, May 17, 2024, to
       produce the February 2022 retainer/escrow agreement for us. If you
       fail to do so, then we intend to file a Motion for Contempt and For
       Sanctions, as soon as possible thereafter. If Zekaria cannot locate the
       document among the numerous papers in her office, then just print out
       another copy of it. But our patience with the continuing failures and
       refusal of Weiss and Zekaria to comply with Court Orders and to
       produce February 2022 retainer/escrow agreement, is at an end.
       Each of you can avoid a Motion for Contempt and For Sanctions
       simply by emailing us a true and correct copy of February 2022
       retainer/escrow agreement.

       Please be guided accordingly.

       thx
       Gary Lightman
       cell 215-760-3000
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cell 215-760-3000

PS to Patrick — we are sending out a Deposition Notice for Zekaria at
the end of today — if you want input into the date we select, please
call me (on my cell), asap, today. thx gpl

KDT—pls dy to f/u with contempt motion on 5/20 if the doc is not sent
to us by 5/17 tg


—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


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